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                               EXHIBIT 232
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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                             MDL No. 2804
 OPIATE LITIGATION
                                                         Case No. 17-md-2804

                                                         Judge Dan Aaron Polster



        Pursuant to the August 5 and 24, 2018 agreements between Plaintiffs and Cardinal
Health, Inc., Cardinal Health provides below its written responses to certain topics identified in
Plaintiffs’ Second Notice of Deposition Pursuant to Rule 30(b)(6). Cardinal Health makes these
responses subject to and without waiving the general objections and specific objections and
responses set forth in its July 31, 2018 Objections and Responses to Plaintiffs’ First and Second
Notices of Deposition Pursuant to Rule 30(b)(6).

Corporate Structure

   A. Your Board of Directors and Board of Directors for each subsidiary and related entity

       The following individuals have served on the Board of Directors of Cardinal Health:

               2006   2007   2008   2009   2010   2011    2012   2013   2014   2015   2016   2017   2018
   David J.
                                                                         X      X      X      X      X
  Anderson
  Colleen F.
                       X      X      X      X      X       X      X      X      X      X      X      X
   Arnold
  George S.
                                     X      X      X       X      X      X      X      X      X      X
   Barrett
  Glenn A.
                                     X      X      X       X      X      X
    Britt
  R. Kerry
                X      X      X      X
    Clark
  George H.
                X      X      X
  Conrades
  Carrie S.
                                     X      X      X       X      X      X      X      X      X      X
     Cox
   Calvin
                X      X      X      X      X      X       X      X      X      X      X      X      X
   Darden
  Bruce L.
                                     X      X      X       X      X      X      X      X      X      X
   Downey
   John F.
                X      X      X      X      X      X       X      X      X
    Finn
  Philip L.
                X      X      X      X
   Francis



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               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Robert. L.
                X      X
    Gerbig
 Patricia A.
 Hemingway                                                       X      X      X      X      X      X
     Hall
   John F.
                X
   Havens
    Akhil
                                                                                                    X
     Johri
 Clayton M.
                                                          X      X      X      X      X      X      X
    Jones
 Michael C.
                                                                                                    X
 Kaufmann
 Gregory B.
                       X      X      X      X      X      X      X      X      X      X      X      X
    Kenny
    Nancy
                                                                               X      X      X      X
   Killefer
   David P.
                                                   X      X      X      X      X      X      X      X
     King
 J. Michael
                X      X      X      X
     Losh
   John B.
                X      X      X      X
   McCoy
   James J.
                                            X      X
   Mongan
 Richard C.
                X      X      X      X      X      X      X      X      X      X
  Notebaert
 Michael D.
                X      X      X      X
 O’Halleran
  David W.
                X      X      X      X      X      X      X
  Raisbeck
   Jean G.
                X      X      X      X      X      X      X      X
  Spaulding
 Matthew D.
                X      X      X
    Walter
  Robert D.
                X      X      X
    Walter




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   B. Officers including those designated with the functional equivalent of:

          i.   Chief Executive Officer

       The following individuals have served as the Chief Executive Officer of Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
 Michael C.
                                                                                                    X
 Kaufmann
 George S.
                                     X      X      X      X      X      X      X      X      X      X
   Barrett
  R. Kerry
                X      X      X      X
   Clark

         ii.   Chief Financial Officer

       The following individuals have served as the Chief Financial Officer of Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Jorge M.
                                                                                                    X
   Gomez
 Michael C.
                                                                        X      X      X      X      X
 Kaufmann
 Jeffery W.
                X      X      X      X      X      X      X      X      X
 Henderson

        iii.   Chief Operating Officer

       The following individual has served as the Chief Operating Officer of Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  George L.
                X
  Fotiades

        iv.    General Counsel

       The following individuals have served as the Chief Legal Officer of Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Craig S.
                                     X      X      X      X      X      X      X      X      X      X
  Morford
  Ivan K.
                X      X      X      X
   Fong




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         v.    Director of Sales

       The following individuals have had significant responsibilities in the sales division of
National Markets at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Jim Scott                                        X      X      X      X      X      X      X      X
    Brian
                       X      X      X      X
   Jackson
   Michael
                X      X
   Bender

        The following individuals have had significant responsibilities in the sales division of
Retail Independent Accounts at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
    Steve
                                     X      X      X      X      X      X      X      X      X      X
  Lawrence
    Tom
                       X      X      X
 Degemmis
 Jim Worley     X      X      X

       The following individuals have had significant responsibilities in the sales division of
Innovative Delivery Solutions at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
   Doug
                                                                                      X      X      X
  Roberts
 Brian Ellis                                                            X      X      X
   Mark
                X      X      X      X      X      X      X      X      X
 Rosenbaum

        vi.    Director of Marketing

       The following individuals have had significant responsibilities related to marketing
services for manufacturers of brand pharmaceuticals at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Eleanor
                                                                        X      X      X      X      X
 Daufenbach
   Lauren
                                                          X      X      X
   Fields
    Jeff
                X      X      X      X      X      X
  Foreman



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       The following individuals have had significant responsibilities related to marketing
services for manufacturers of generic pharmaceuticals at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
 Greg Ewing                                                                                  X      X
    Chip
                                                          X      X      X      X      X      X
  Aquilina
 Bill Rampy                          X      X      X
 Matt Erick     X      X      X      X

        vii.   Director of Regulatory Compliance

       The following individuals have had significant responsibilities in Supply Chain Integrity
at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
   Todd
                                                          X      X      X      X      X      X      X
  Cameron
  Michael
                              X      X      X      X      X
   Moné
   Steve
                X      X      X
  Reardon

       The following individuals have had significant responsibilities in QRA Management at
Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Ullrich
                                                                                      X      X      X
  Mayeski
   Steve
                X      X      X      X      X      X      X      X      X      X      X
  Reardon

       viii.   Director of Government Affairs

       The following individuals have had significant responsibilities in Government Affairs at
Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
   Sean
                                                                                      X      X      X
 Callinicos
  Connie
                X      X      X      X      X      X      X      X      X      X      X
 Woodburn




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         ix.   Director of Distribution

       The following individuals have served as the President of the U.S. Pharmaceutical
Distribution for Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
   Debbie
                                                                                             X      X
  Weitzman
     Jon
                                                   X      X      X      X
  Giacomin

       The following individuals have had significant responsibilities in pharmaceutical Supply
Chain Operations at Cardinal Health:

               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
   Sean
                                                                                                    X
  Halligan
    Rob
                                     X      X      X      X      X      X      X      X      X
  Pantano
   Tom
                X      X      X
  Calhoun

   C. All committees and sub-committees of Your Board of Directors and Board of
      Directors for each subsidiary and/or entity

       From time to time, the following committees of Cardinal Health’s Board of Directors are
involved with issues related to the distribution of opioid medications:
           Audit Committee
           Ad Hoc Committee
           Special Committee

   D. Employees (and compensation structure) related to servicing clients in Case Track 1
      (“CT1”) jurisdictions

       Cardinal Health objects to this topic on the basis that “related to servicing clients” is
vague and ambiguous.

   E. Ownership and control of distribution operations

       Cardinal Health 110, LLC is the core wholesale pharmaceutical distribution business of
Cardinal Health, Inc. Cardinal Health 110, LLC, is a wholly-owned subsidiary of Cardinal
Health, Inc.




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   F. Departments, subsidiaries, committees, including but not limited to those related to
      the following: sales, marketing, regulatory compliance, government affairs,
      distribution, and compensation

       Cardinal Health identifies the following departments:
           National Markets
           Retail Independents
           Innovative Delivery Solutions
           Manufacturer Marketing Services
           Quality and Regulatory Affairs
           Government Affairs
           Pharmaceutical Distribution

   G. Chain of command

          i.     Legal chain of command

       The following individuals have served as the Chief Legal Officer of Cardinal Health:

                 2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
  Craig S.
                                       X      X      X      X      X      X      X      X      X      X
  Morford
  Ivan K.
                  X      X      X      X
   Fong

         ii.     Operational chain of command

        The following individuals have served as the Chief Executive Officer of Cardinal Health
for the time periods identified below:

                 2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018
 Michael C.
                                                                                                      X
 Kaufmann
 George S.
                                       X      X      X      X      X      X      X      X      X      X
   Barrett
  R. Kerry
                  X      X      X      X
   Clark

   H. Wholly owned subsidiaries, affiliates and DEA registrations

      The following distribution center shipped over 99% of Opioids or Opioid Products to
Customers in the City of Cleveland, Cuyahoga County, and Summit County from 2006 to 2017:

                Wheeling, West Virginia, 71 Mil-Acres Drive, Wheeling, WV 26003. DEA
                 Registration Number RO0153609.

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       Cardinal Health 110, LLC, is a wholly-owned subsidiary of Cardinal Health, Inc. The
following is a Legal Entity Organization Chart for Cardinal Health 110, LLC, as of May 9, 2018:




   I. Mergers, acquisitions and other corporate restructuring

       Subsidiary                                                Acquisition Date
       ParMed Pharmaceuticals, LLC                                  3/31/2006
       Kinray Inc.                                                 12/21/2010
       Dik Drug Company, LLC                                        7/23/2012
       Cederdale Distributors LLC dba Gen-Source Rx                 9/30/2014
       The Harvard Drug Group, LLC                                  7/2/2015

   J. Employees knowledgeable about any marketing services you have offered to
      manufacturers of prescription opiates

       The following individuals have significant knowledge regarding the marketing services
available to manufacturers:
             Kristine Fidler
             Eleanor Daufenbach

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             Lauren Fields
             Greg Ewing




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